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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION


 CHAREESE L. JOUBERT
                                                      CASE NO.: 1:18-cv-05448
                    Plaintiff,
                                                      JUDGE:
         -v-

 CAINE & WEINER COMPANY, LLC                         COMPLAINT
                                                     JURY DEMAND ENDORSED HEREON
                    Defendant.


      Plaintiff, Chareese L. Joubert, for her complaint against Caine & Weiner Company, LLC

(“Defendant”), states as follows:

                                      NATURE OF THE ACTION

   1. Plaintiff brings this action seeking damages pursuant to the Fair Debt Collection Practices

Act, 15 U.S.C. §§ 1692 et seq. (“FDCPA”), and the Illinois Consumer Fraud and Deceptive

Business Practices Act, 815 ILCS 505/10a (“ICFA”), for Defendant’s unlawful collection practices

as more fully described in this complaint.

                                     JURISDICTION AND VENUE

   2. This action arises under and is brought pursuant to the FDCPA. Subject matter jurisdiction

is therefore conferred upon this Court by 15 U.S.C § 1692k and 28 U.S.C. §§ 1331, 1337, as the

action arises under the laws of the United States. Supplemental jurisdiction exists for the state law

claim pursuant to 28 U.S.C. § 1367.

   3. Venue is proper in this Court pursuant to 28 U.S.C. § 1391 as Defendant transacts business

within the Northern District of Illinois and the events and/or omissions giving rise to the claims

made in this complaint occurred within the Northern District of Illinois.


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                                              PARTIES

   4. Plaintiff, Charesse L. Joubert (“Ms. Joubert”), is a natural adult person residing in

Glenwood, Illinois, which lies within the Northern District of Illinois.

   5. Ms. Joubert is a “consumer” as that term is defined by § 1692a(3) of the FDCPA.

   6. Ms. Joubert is a “person” as that term is defined and/or used within the ICFA.

   7. Defendant, Caine & Weiner Company, LLC, is an Illinois limited liability company in the

business of collecting consumer debts on behalf of others within the State of Illinois and

throughout the United States. As such, Defendant regularly uses the mails and/or telephone to

collect, or attempt to collect, delinquent consumer accounts.

   8.    In its communications to consumers, Defendant identifies itself as a “debt collector.”

   9. Defendant is a “debt collector” as that term is defined by § 1692a(6) of the FDCPA.

  10. Defendant is a “person” as that term is defined and/or used within the ICFA.

                              FACTS SUPPORTING CAUSES OF ACTION

  11.    As Ms. Joubert was checking her credit reports, she noticed an entry bearing Defendant’s

name that was reporting in a collection status. Relevant pages from Ms. Joubert’s Experian credit

report, dated July 3, 2018, are attached to this complaint as Exhibit A.

  12.    Ms. Joubert also noticed that Defendant had updated its reporting of the collection account

appearing in her credit report as recently as June 3, 2018. See Exhibit A.

  13.    Ms. Joubert did not recognize this account as belonging to her.

  14.    On or around July 3, 2018, Ms. Joubert contacted Defendant via phone to ascertain more

information about the entry appearing in her credit report and the debt Defendant was attempting

to collect from her (the “Phone Call”).




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   15.    During the Phone Call, Ms. Joubert spoke with a representative for Defendant who

identified Defendant as a debt collector attempting to collect upon a debt.

   16.    During the Phone Call, Defendant’s agent represented to Ms. Joubert that she owed

Defendant a total balance of $318.34 in connection with a utility debt Ms. Joubert allegedly

incurred in 2011 (the “Subject Debt”).

   17.    Defendant’s agent attempted to collect payment of the Subject Debt from Ms. Joubert during

the Phone Call.

   18.    The applicable statute of limitations for the Subject Debt states, in relevant part:

                “Except as provided in Section 2-725 of the ‘Uniform Commercial Code’,
                approved July 31, 1961, as amended, and Section 11-13 of ‘The Illinois
                Public Aid Code’, approved April 11, 1967, as amended, actions on
                unwritten contracts, expressed or implied . . . shall be commenced within 5
                years next after the cause of action accrued.” See 735 ILCS 5/13-205.

    19. Thus, given the applicable five (5) year statute of limitations and the fact that the Subject

Debt fell into default in 2011, as of July 3, 2018, the date of the Phone Call, the Subject Debt was

a time-barred debt, i.e., it fell outside the applicable statute of limitations.

    20. Despite the time-barred status of the Subject Debt, at no point during the Phone Call did

Defendant’s agent disclose or explain to Ms. Joubert that the Subject Debt was time-barred and/or

that Defendant could not sue Ms. Joubert to collect it.

    21. Despite the time-barred status of the Subject Debt, at no point during the Phone Call did

Defendant’s agent disclose or explain to Ms. Joubert that by paying, or even just agreeing to pay,

any portion of the Subject Debt, or merely acknowledging the Subject Debt as valid, it could have

the effect of resetting the applicable statute of limitations as to the Subject Debt, potentially

subjecting Ms. Joubert to further legal liability.




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   22. After a reasonable time to conduct discovery, Ms. Joubert believes she can prove that all

actions taken by Defendant as described in this complaint were taken willfully and/or with

knowledge that its actions were taken in violation of the law.

                                             DAMAGES

  23.    In conjunction with Defendant’s June 3, 2018 adverse credit reporting, Plaintiff was

misled by the Phone Call.

  24.    Plaintiff justifiably fears that, absent this Court’s intervention, Defendant will continue to

attempt to collect payment from her on time-barred debt(s) and ultimately cause unwarranted harm

to her credit or otherwise harm her economically.

  25.    Plaintiff justifiably fears that, absent this Court’s intervention, Defendant will continue to

use unlawful methods and/or means in its attempts to collect the Subject Debt from her.

  26.    As a result of Defendant’s conduct, Plaintiff was forced to hire counsel and her damages

therefore include reasonable attorneys’ fees incurred in prosecuting this claim.

  27.     As a result of Defendant’s conduct, Plaintiff is entitled to statutory damages, punitive

damages and all other appropriate measures to punish and deter Defendant and other debt

collection agencies from engaging in the unlawful collection practices described in this complaint.

                                     GROUNDS FOR RELIEF

                                          COUNT I
                   VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                           15 U.S.C. §§ 1692e, e(2)(A), e(10) and f

  28.    All prior paragraphs are incorporated into this count by reference.

  29.    The FDCPA states, in relevant part:

                “A debt collector may not use any false, deceptive, or misleading
               representation or means in connection with the collection of any
               debt. Without limiting the general application of the foregoing, the
               following conduct is a violation of this section: (2) The false

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                representation of -- (A) the character, amount, or legal status of any
                debt; (10) The use of any false representation or deceptive means to
                collect or attempt to collect any debt or to obtain information
                concerning a consumer.” 15 U.S.C. §§ 1692e, e(2)(A) and e(10).

                “A debt collector may not use unfair or unconscionable means to
                collect or attempt to collect any debt.” 15 U.S.C. § 1692f.

   30.    Defendant violated 15 U.S.C. §§ 1692e, e(2)(A), e(10), and f during the Phone Call, in

conjunction with its June 3, 2018 adverse credit reporting, by attempting to collect the Subject

Debt after omitting the disclosure of information to Plaintiff regarding the Subject Debt’s time-

barred status and the potential legal consequences of Plaintiff paying, or agreeing to pay, upon the

subject time-barred debt.

   31.    Defendant’s communications to Plaintiff were unfair, deceptive and misleading because,

by failing to disclose to Plaintiff that the Subject Debt was time-barred, Defendant created the false

impression that the Subject Debt was still legally collectible from Plaintiff and/or that Defendant

could still sue her for it.

   32.    Defendant knew, or should have known, that the Subject Debt was time-barred, yet failed

to provide complete and/or accurate disclosure of same to Plaintiff.

   33.    Defendant’s representations and/or omissions served only to confuse and intimidate

Plaintiff in the hopes that she waived her rights and affirmative defenses under the law. Plaintiff

was unable to adequately determine the character and legal status of the Subject Debt based upon

Defendant’s representations and/or omissions, and was unable to adequately determine the

potential legal consequences of making, or arranging to make, a payment on the Subject Debt.

   34.    As an experienced debt collector, Defendant knows that its representations to consumers

concerning the legal status of an alleged debt owed, and the consumer’s rights under the FDCPA




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and/or the applicable statute of limitations, are required to be truthful, complete and accurate, and

disclosed without any intent to mislead or deceive.

  35.    As Plaintiff had no prior contractual relationship or dealings with Defendant, Plaintiff was

justifiably confused and skeptical of the representations and/or omissions regarding the legal status

of the Subject Debt, as well as Defendant’s ability to legally collect upon it.

  36.    As set forth in paragraphs 23 through 27 above, Plaintiff has been harmed and has suffered

damages as a result of Defendant’s unlawful collection practices as described in this complaint.

                                       COUNT II
   VIOLATIONS OF THE ILLINOIS CONSUMER FRAUD AND DECEPTIVE BUSINESS PRACTICES ACT
                                    815 ILCS 505/2

  37.    All prior paragraphs are incorporated into this count by reference.

  38.    Defendant’s collection activity in connection with the Subject Debt constitutes “conduct

of any trade or commerce” as that phrase is defined and/or used within the ICFA.

  39.    The ICFA states, in relevant part:

               “Unfair methods of competition and unfair or deceptive acts or
               practices, including but not limited to the use or employment of any
               deception, fraud, false pretense, false promise, misrepresentation or the
               concealment, suppression or omission of any material fact, with intent
               that others rely upon the concealment, suppression or omission of such
               material fact . . . in the conduct of any trade or commerce are hereby
               declared unlawful whether any person has in fact been misled, deceived
               or damaged thereby.” 815 ILCS 505/2.

               “Any person who suffers actual damage as a result of a violation of this
               Act committed by any other person may bring an action against such
               person. The court, in its discretion may award actual economic damages
               or any other relief which the court deems proper.” 815 ILCS 505/10a.

  40.    Defendant violated the ICFA, namely 815 ILCS 505/2, by engaging in unfair, abusive,

and deceptive conduct in its transactions with Plaintiff by, inter alia: (i) attempting to collect the

Subject Debt after omitting the disclosure of information to Plaintiff regarding the Subject Debt’s


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time-barred status, namely, that Defendant could no longer sue Plaintiff to collect the Subject Debt;

(ii) attempting to collect the Subject Debt after omitting the disclosure of information to Plaintiff

regarding the potential legal consequences of Plaintiff paying, or agreeing to pay, upon the Subject

Debt; and (iii) creating the false impression that Defendant could still sue Plaintiff to collect the

Subject Debt.

   41.     Defendant knew, or should have known, that the Subject Debt was time-barred, yet failed

to provide complete and/or accurate disclosure of same to Plaintiff.

   42.     Defendant intended that Plaintiff rely on its misrepresentations and/or omissions in order

to procure immediate payment of the Subject Debt and/or prevent Plaintiff from exercising her

rights.

   43. As set forth in paragraphs 23 through 27 above, Plaintiff has been harmed and has suffered

damages as a result of Defendant’s unlawful collection practices as described in this complaint.

   44. As such, Plaintiff is entitled to relief pursuant to 815 ILCS 505/10a.

   45. Defendant’s actions as set forth in this complaint were malicious, willful and/or

undertaken with such reckless disregard of Plaintiff’s rights that malice may be inferred, subjecting

Defendant to liability for punitive damages under the ICFA in such an amount to be proved at trial.

                                       PRAYER FOR RELIEF

     WHEREFORE, Plaintiff, Chareese L. Joubert, respectfully requests that this Court enter

judgment in her favor as follows:

          A. Awarding Plaintiff actual damages, in such amounts as determined by the jury, as
             provided under 15 U.S.C. § 1692k and 815 ILCS 505/10a;

          B. Awarding Plaintiff statutory damages in the amount of $1,000.00, as provided under
             15 U.S.C. § 1692k(a)(2)(A);

          C. Awarding Plaintiff punitive damages, in such an amount as determined by the jury, as
             provided under 815 ILCS 505/10a;

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      D. Awarding Plaintiff the costs of this action and reasonable attorneys’ fees, as provided
         under 15 U.S.C. § 1692k(a)(3) and 815 ILCS 505/10a; and

      E.   Awarding Plaintiff such other and further relief as may be just and proper.


DATED this 10th day of August, 2018.                  Respectfully Submitted,

                                                        /s/ Geoff B. McCarrell
                                                      Geoff B. McCarrell #0086427
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                                                      Counsel for Plaintiff




                                         JURY DEMAND

    Pursuant to FED. R. CIV. P. 38(b), Plaintiff demands a trial to a jury on all issues of fact.

                                                      /s/ Geoff B. McCarrell
                                                     Geoff B. McCarrell #0086427
                                                     CONSUMER LAW PARTNERS, LLC




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